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                                FD BY GE ERAL MOTORS OF CANADA LTD.
                           GV 'JR               GAWR FRT            GAWR RR
                         29031(G\6400LB)     1780 KG (3925 LB)    1701 KG(3760lB)
                'Ttt\ S VEHICLE CO FORMS TO ALL APPLICABLE U.S. FEDERAL MOTOR
                 V£tt1 CLE Sf<FETY STANDARD S IN EFFECT ON THE DATE OF
                    f< UfACTURE SHO 'JN ABOVE .
                     2GCEK19T7Y1208069 TYPE: TRUCK
                      ~DEL Ki,753
                     PMZ TIRE SIZE SPEED RTG      RIM          COLO TIRE PRESSURE
                  FRT   P26£>17SRi6     S      16X7/6.5J    240KPA{35PSI)
                  RR     P26SnSR16       S      16)(7/6 .SJ 240KPA{3SPSI) Fm
                   EE Q~HIER' S MANUAL FOR MORE INFORMATION.              r eo3




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